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United States District Court
for the
Western District of New York

DITECH FINANCIAL LLC FKA GREEN )
TREE SERVICING LLC

) Civil Action No.
Plaintiff )
)
)
v. ) COMPLAINT
)
)
MICHELLE L. KUSHNER )
)
Defendant(s) )
)
)
)
)
)
)

Plaintiff, by its attorneys Gross Polowy, LLC, for its complaint against the Defendant
alleges as follows:

INTROD U C'l`l()N

l. This action is brought pursuant to New York Real Property Actions and
Proceeding Law (RPAPL) Article 13, to foreclose a Mortgage encumbering 6674
WISTERMAN, LOCKPORT, NY 14094, together with the land, buildings, and other
improvements located on the Property (“Property”). The legal description of the Property is
attached as Schedule B.

PARTIES

2. Plaintiff is a Limited Liability Company incorporated under the laws of the State
of Delaware with its principal place of business at 3000 Bayport Drive, Suite 880, Tampa, FL
33607. Plaintiff is directly owned by Green Tree Licensing LLC and Green Tree Servicing
Corporation both incorporated in Delaware with their principal place of business in Minnesota.
Green Tree Servicing LLC is indirectly owned by companies that are also citizens of Maryland
and Florida. Plaintiff is the holder of the subject Note and Mortgage with delegated authority to
institute this Mortgage foreclosure action by the owner. Attached here as Schedule A is a copy
of the original note.

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3. Defendant Michelle L. Kushner is a citizen of New York, and the owner of the
Property.
4. The Defendant claims an interest or lien encumbering the Property, which is

either subordinate to Plaintiff‘s Mortgage, or paid in full, equitably subordinated, or adverse to
Plaintist Mortgage. The interest or lien of each defendant is attached as Schedule C.

5. The interest or lien of any governmental entity is attached as Schedule D.
STATEMENT OF JURISDICTION

6. Federal subject matter jurisdiction exists pursuant to 28 USC Section 1332
because complete diversity exists among the Plaintiff and the Defendant(s) and the amount in
controversy, without interest and costs, exceeds the $75,000.00.

VENUE

7. Venue is proper pursuant to 28 USC Section 1391 because the Property is located
in this District and a substantial part of the events and omissions giving rise to this action
occurred in this District.

FACTUAL BACKGROUND

8. On or about December 4, 2002, Michelle L. Kushner executed and delivered a
Note whereby Michelle L. Kushner promised to pay the sum of $89,550.00 plus interest on the
unpaid amount duc.

9. As security for the payment of the Note Michelle L. Kushner duly executed and
delivered a Mortgage, in the amount of $89,550.00 which was recorded as follows.

Recording Date: December 5, 2002
Book 4682/Page 423
Niagara County Clerk

10. The Mortgage was subsequently assigned to BAC Home Loans Servicing, lP
FKA Countrywide Home Loans Servicing LP.

ll. The Mortgage was subsequently assigned to Everbank.
12. The Mortgage was subsequently assigned to Green Tree Servicing LLC.
l3. Michelle L. Kushner failed to make payment in accordance with the terms of the

Note and Mortgage by not making the payment that was due on December l, 2012 and
subsequent payments

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14. There is now due and owing on the Note and Mortgage the following amounts:

Principal Balance: $78,075.08
Interest Rate: 7.625%
Date Interest Accrues from: November 1, 2012

together with late charges, monies advanced for taxes, assessments, insurance,
maintenance, and preservation of the Property, and the costs, allowances, expenses of sale, and
reasonable attorney's fees for the foreclosure.

15. Based on the last property inspection, the Property appeared vacant or abandoned.

16. In order to protect the value of the Property and its rights in the Property, the
Plaintiff may have to pay taxes, assessments, water charges, insurance premiums, and other
charges. Plaintiff requests that any amount it pays, together with interest, be included in the total
amount due.

17. Plaintiff has complied with the notice provision of the Mortgage and RPAPL
Section 1304 and filed the information required by RPAPL Section 1306. The Mortgage was
originated in compliance with all provisions of Section 595-a of the New York Banking Law and
any rules or regulations promulgated thereunder, and, if applicable, Sections 6-l or 6-m of the
Banking Law.

18. No action was brought to recover any part of the Mortgage debt or if any such
action is pending final judgment for Plaintiff was not rendered and it is the intent of the Plaintiff
to discontinue it.

AS AND FOR A SECOND CAUSE OF ACTION,
PLAINTIFF HEREIN ALLEGES

19. Repeats and realleges the allegations contained in Paragraphs 1 through 18 as
though fully set forth herein.

20. That the recorded Mortgage, that is the Subject of this action, accurately
references the address of the Property encumbered by the Mortgage as: 6674 WISTERMAN,
LOCKPORT, NY 14094

21. That the legal description in Mortgage recorded on December 5, 2002 in Book
4682, Page 423 in the Office of the Niagara County Clerk contained an error to wit: description
does not include the acreage reference

22. Plaintiff hereby requests reformation of the Mortgage recorded on December 5,
2002 in Book 4682, Page 423 in the Office of the Niagara County Clerk by Order of this Court
as contained in a clause in the Order of Reference stating the following:

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ORDERED, that the legal description in the Mortgage recorded on December 5, 2002
in Book 4682, Page 423 in the Office of the Niagara County Clerk is hereby reformed so that the
property reads as follows:

Premises being situate in the Town of Lockport, County of Niagara and State of New
York, being part of Lots 24 and 26, Township 13, Range 6 of the Holland Land Company
Survey so called and being more particularly described as follows:

Beginning at a point in the centerline of Wisterrnan Road, said point being 1644 feet
distant northeasterly, measured along said centerline of the intersection point of the
centerline of Wisterrnan Road with the centerline of Rapids Road and running thence
northwesterly, at right angles to said centerline of Wisterrnan Road, 401 feet to a
point in the center of Mud Creek thence northerly and easterly along the center of
Mud Creek, as it winds and turns, to a point being 70 feet distant northwesterly from
the center line of Wisterrnan Road, measured at right angles thereto; thence
southeasterly, at right angles to the centerline of Wisterrnan Road 70 feet to a point
in the centerline thereof; thence southwesterly, along the centerline of Wisterrnan
Road, 280 feet to the point of beginning; containing 1.92 acres more or less.

Easements, restrictions, etc.: Subject to easements, conditions, and restrictions of record.

WHEREFORE, PLAINTIFF DEMANDS:

a. Judgment determining the amount due Plaintiff for principal, interest, late charges,
taxes, assessments, insurance, maintenance and preservation of the Property and other
similar charges, together with costs, allowances, expenses of sale, reasonable
attorney's fees, all with interest;

b. A referee be appointed to sell the Property at auction to the highest bidder, in
accordance with to RPAPL Article 13;

c. The interest of the defendant(s) and all persons claiming by or through them be
foreclosed and their title, right, claim, lien, interest or equity of redemption to the
Property be forever extinguished;

d. The Plaintiff be paid out of the sale proceeds the amounts due for principal, interest,
late charges, taxes, assessments, insurance, maintenance and preservation of the
Property, and other similar charges, together with costs, allowances, expenses of sale,
reasonable attorney’s fees, all with interest, and that the sale proceeds be distributed
in accordance with to RPAPL Article 13;

e. The property be sold in as is condition, subject to the facts an inspection or accurate
survey of the Property would disclose, covenants, restrictions, easements and public
utility agreements of record, building and Zoning ordinances and violations, and the
equity of redemption of the United States of America;

f. Plaintiff may purchase the Property at the sale;

g. A receiver be appointed for the Property, if requested by Plaintiff;

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h. If the Plaintiff possesses other liens against the Property, they not merge with the
Mortgage being foreclosed and that Plaintiff, as a subordinate lien holder, be allowed
to share in any surplus proceeds resulting from the sale;

i. Awarding the relief requested in the SECOND cause of action stated in this
complaint; and

j. That the Court award Plaintiff additional relief that is just, equitable and proper.

By:
Dated: N\‘-`»\j', 8 , % }/5 _
Williamsville, New York Tracy M %uitrler, Esq.
Attorneys for Plaintiff
1775 Wehrle Drive, Suite 100
Williamsville, NY 14221
Tel.: (716)204-1700

 

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Schedule A

Attached here as Schedule A is a copy of the original note. If applicable, certain non-public
personal information has been redacted from the attached document.

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Preparad by: DAN|ELLE TORRES _

NOTE

DECEM'BER 04, 2002 BUFFALO NEW YORK
[Datc] [City] (State]

6674 WISTERM.AN, LOCKPORT, NY 14094
[PropcrtyAddress]

1. BORROWER'S PROMISE TO PAY

ln return for a loan that 1 have received, 1 promise to pay U.S. $ 8 9, 550 . 0 0 (this amount is called "Principal"),
plus intercst, to the order ol' the Lender. The Lender is
AMERICA' S WHOLESALE LENDER
1 will make all payments under this Note in the form of cash, check or money ordcr.

1 understand that the Lendcr may transfer this Note. The Lender or anyone who takes this Note by transfer and who is
entitled to receive payments under this Note is called the "Note Holder."

Z. INTEREST

lntcrcst will be charged on unpaid principal until the full amount of Prineipal has been paid. 1 will pay interest at a yearly
raceof 7.625 %.

The interest rate required by this Sect.ion 2 is the rate 1 will pay both before and after any default described in Section 6(`B)
of this Note.

3. PAYMIENTS

(A) 'l`ime and Place of Pay'ments

1 will pay principal and interest by making a payment every month.

l will make my monthly payment on the FIRST day of each month beginning on

JANUARY 01 , 2003 , 1 will make these payments every month until 1 have paid all of the principal and interest and

any other charges described below that 1 may owe under this Note. Each monthly payment will be applied as of its scheduled
due date and will be applied to interest before Principal. lf, on DECEMBER Ol, 2032 , 1 still owe amounts under this
Notc, 1 will pay those amounts in full on that date, which is called the "Matun'ty Date."

l Will make my monthly payments at
P .O. Box 660694, Dallas, TX 75266-0694
or at a different place if required by the Note Holder.

(B) Amount of Monthly Payments

My monthly payment will be in the amount ofU.S. $ 633 . 83

4. BORROWER'S RIGHT TO PREPAY

1 have thc right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
"Prepayment." When 1 make a Prepayment, 1 will tell the Note Holder in writing that 1 am doing so. 1 may not designate a
payment as a Prepayment il` 1 have not made all the monthly payments due under the Note.

l may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder will use my
Prepayments to reduce the amount of Pzincipal that 1 owe under this Note. However, the Note Holder may apply my Prepayment
to the accrued and unpaid interest on the Prepayment amount, before applying my Prepayment to reduce the Principal amount of
the Note. lf I make a partial Prepayment., there will be no changes in the due date or in the amount of my monthly payment
unless the Note Holder agrees in writing to those changes.

5. LOAN CHARGES

If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or other
loan charges collected or to be collected in connection with this loan exceed the pemiitted limits, then: (a) any such loan charge
shall be reduced by the amount necessary to reduce the charge to the pcmiitted limit,' and (b) any sums already collected from
me which exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing the
Principal I owe under this Note or by making a direct payment to me. 1f a refimd reduces Principal, the reduction will be treated
as a partial Prepayment.

6. BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charge fur Overdue Paymcnts

lf the Note Holder has not received thc full amount of any monthly payment by the end of FIFTEEN calendar
days after the date it is due, 1 will pay a late charge to the Notc Holder. The amount of the charge will be 2 . 0 0 0 % of my
overdue payment of principal and interest. l will pay this late charge promptly but only once on each late payment.

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(B) Default

1fI do 'not pay the full amount of each monthly payment on the date it is due, 1 will be in default.

(C) Notice of Default t

If 1 am in defaultl the Note Holder may send me a written notice telling me dtat if 1 do not pay the overdue amount by a
certain date, the Note Holder may require me to pay immediately the full amount of Principal which has not been paid and all
the interest thatl owe on that amount. That date must be at least 30 days after the date on which the notice is mailed to me or
delivered by other means.

(D) No Waiver By Note Holder

Even if, at a time when 1 am in default, the Note Holder does not require me to pay immediately in full as described above,
the Note Holder will still have the right to do so if 1 am in default at a later time.

(E) Payment of Note Holder's Costs and Expenses

lf the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to be
paid back by me for all of its costs and expenses in enforcing t.his Note to the extent not prohibited by applicable law. Those
expenses include, for example, reasonable attomeys' fees

7. GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if 1 give the Note
Holder a notice of my different address

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by first
class mail to the Note Holder at the address stated in Section 3(A)- above or at a different address if 1 am given a notice of that
different address.

8. OBLIGATIONS OF PERSONS UNDER TH]S.NOTE

lf more than one person signs this Note, each person is fully and personally obligated to keep all of the promises made in
this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is
also obligated to do these things. Any person who takes over these obligations, including the obligations of a guarantor, surety
or endorser of this Note, is also obligated to keep all of the promises made in this Note_ The Note Holder may enforce its rights
under this Note against each person individually or against all of us together This means that any one of us may be required to
pay all of the amounts owed under this Note.

9. WAIVERS

I and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
l'Present.rnent" means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor" means the
right to require the Note Holder to give notice to other persons that amounts due have not been paid.

10. UNIFORM SECURED NOTE
This Note is a uniform instrument with limited variations in some jurisdictions ln addition t_o the protections given to the
Note Holder under this Note, a Mortgage, Dced or 't'rust, or Security Dccd (the "Security lnst.rument"'), dated the same date as
this Note, protects the Note Holder from possible losses which might result if 1 do not keep the promises which 1 make in this
Note. That Security lnstrument describes how and under what conditions l may be required to make immediate payment in full
of all amounts 1 owe under this Note. Some of those conditions are described as follows:
Lender may require immediate payment in full of all Sums Secured by this Security lnstrument if all or
any part of the Property, or if any right in the Property, is sold or transferred without Lender's prior written
pemrission. lf Borrower is not a natural person and a beneficial interest in Bon'ower is sold or transferred
without Lender's prior written permission, Lender also may require immediate payment in full. However, this
option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
lf Lender requires immediate payment in full under this Section 18, lender will give me a notice Which
states this requirement The notice \vi.ll give me at least 30 days to make the required payment. The 30-day
period Will begin on the date the notice is given to me in the manner required by Section 15 of this S_et;urity
ln.-ttroment. lfI tin nut mal-tn the required payment during that penod,lL.e_nder may act to enforce its rights under
this Security Instrumorrt without giving me any furtherl notice or denmrl"_'ffrr‘p’:tyment.

 

 

 

 

 

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Schedule B ~ Legal Description

Premises being situate in the Town of Lockport, County of Niagara and State of New York,
being part of Lots 24 and 26, Township 13, Range 6 of the Holland Land Company Survey so
called and being more particularly described as follows:

Beginning at a point in the centerline of Wisterrnan Road, said point being 1644 feet
distant northeasterly, measured along said centerline of the intersection point of the
centerline of Wisterrnan Road with the centerline of Rapids Road and running thence
northwesterly, at right angles to said centerline of Wisterrnan Road, 401 feet to a
point in the center of Mud Creek thence northerly and easterly along the center of
Mud Creek, as it winds and turns, to a point being 70 feet distant northwesterly from
the center line of Wisterrnan Road, measured at right angles thereto; thence
southeasterly, at right angles to the centerline of Wisterrnan Road 70 feet to a point
in the centerline thereof; thence southwesterly, along the centerline of Wisterman
Road, 280 feet to the point of beginning; containing 1.92 acres more or less.

Easements, restrictions, etc.: Subject to easements, conditions, and restrictions of record.

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Schedule C-Defendants

Michelle L. Kushner Borrower

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Schedule D - Defendants

 

NONE

